Fill in this information to identify the case:

Debtor 1              Brian Robert Walker

Debtor 2              Seanna Christina Walker fka Seanna Christina Janes
(Spouse, if filing)

United States Bankruptcy Court for the : Middle                      District of Pennsylvania
                                                                                (State)

Case number           1:17-bk-03477-HWV



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:             M&T Bank as servicer for                               Court claim no. (if known):         8
                              Lakeview Loan Servicing, LLC

Last four digits of any number you                XXXXXX6288                         Date of payment change:
use to identify the debtors’ account:                                                Must be at least 21 days after date of             10/1/2019
                                                                                     this notice

                                                                                     New total payment:
                                                                                     Principal, interest, and escrow, if any            $578.87

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtors’ escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:            $ 105.10                                       New escrow payment :            $ 130.61

Part 2:         Mortgage Payment Adjustment

2.     Will the debtors’ principal and interest payment change based on an adjustment to the interest rate in the debtors’
       variable-rate note?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                          %                              New interest rate:           %

             Current principal and interest payment:         $ _________                     New principal and interest payment:         $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtors’ mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:                $ _________                              New mortgage payment:             $ _________




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 Debtor 1            Brian Robert Walker                                            Case number (if known) 1:17-bk-03477-HWV
                    First Name Middle Name    Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/Dane Exnowski                                                                  Date     9/9/2019
     Signature

Print:         Dane                                             Exnowski               Title   Authorized Agent
               First Name            Middle Name                Last Name

Company        McCalla Raymer Leibert Pierce, LLC

Address        1544 Old Alabama Road
               Number      Street
               Roswell                       GA                  30076
               City                          State               ZIP Code

Contact phone      562-661-5060                                                        Email    Dane.Exnowski@mccalla.com




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                                                           Bankruptcy Case No.:     1:17-bk-03477-HWV
 In Re:                                                    Chapter:                 13
           Brian Robert Walker                             Judge:                   Henry W. Van Eck
           Seanna Christina Walker
           fka Seanna Christina Janes

                                        CERTIFICATE OF SERVICE

      I, Dane Exnowski, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road, Roswell,
GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

        That on the date below, I caused to be served a copy of the within NOTICE OF MORTGAGE
PAYMENT CHANGE filed in this bankruptcy matter on the following parties at the addresses shown, by
regular United States Mail, with proper postage affixed, unless another manner of service is expressly
indicated:

Brian Robert Walker
24 Fairview Avenue
Waynesboro, PA 17268

Seanna Christina Walker
24 Fairview Avenue
Waynesboro, PA 17268

Stephen Wade Parker                               (served via ECF Notification)
Mooney and Associates
230 York Street
Hanover, PA 17331

Charles J. DeHart, III, (Trustee)                 (served via ECF Notification)
8125 Adams Drive Suite A
Hummelstown, PA 17036

Asst. U.S. Trustee                                (served via ECF Notification)
United States Trustee
228 Walnut Street, Suite 1190
Harrisburg, PA 17101

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:        9/9/2019            By:   /s/Dane Exnowski
                      (date)                  Dane Exnowski
                                              Authorized Agent for M&T Bank as servicer for
                                              Lakeview Loan Servicing, LLC




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                                     Representation
                             RETURN SERVICE  ONLY Of Printed Document
                             Please do not send mail to this address
                             P.O. Box 619063
                             Dallas, TX 75261-9063                     Important information regarding your
                                                                       escrow analysis statement.




       BRIAN R WALKER
       SEANNA C WALKER
       24 FAIRVIEW AVE
       WAYNESBORO PA 17268




    RE: Mortgage Loan

    Dear Brian R Walker,

    At M&T Bank, we are pleased to be the new servicer for your mortgage loan.

    Accompanying this letter is your new escrow account analysis statement. This analysis helps us ensure
    there are sufficient funds available in your account to cover any upcoming payments we make on your
    behalf, such as property taxes or homeowner’s insurance payments.

    Please carefully review the escrow analysis statement. It details projected payments M&T will
    need to make in the coming months. Based on these projections, your mortgage payment amount
    may change due to anticipated increases or decreases in future disbursements.

    Going forward, you’ll receive an annual escrow analysis during the month of October.

    If you have any questions regarding the escrow analysis, please call us at 1-800-724-2224 and we’ll be
    happy to review the statement with you.

    Thank you.

    Sincerely,



    Kathleen O. Evans
    Administrative Vice President, Retail Loan Servicing




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                                                                    Your Account History**

       Please remember, as your taxes and/or insurance increase on an annual basis, the escrow portion of your payment may increase.
       If you have any questions about this Escrow Analysis, please call our Customer Service Department toll free at 1-800-411-7627.

                  Projected   Actual
                                                                                               Projected             Actual              Projected          Actual
      Month      Payment to Payment to                          Description
                                                                                             Disbursement         Disbursement            Balance          Balance
                   Escrow     Escrow
                                                             Beginning Balance                                                               $0.00               -$123.45
       Jul 19                           $210 20 *                                                                                            $0 00                 $86.75
      Aug 19                            $123 69 *                 School Tax                                           $453.47       *       $0 00               -$243 03
      Sep 19                            $105.10 *                                                                                            $0 00               -$137 93


       The total amount of escrow payments received during this period was $438 99 and the total escrow disbursements were $453.47.

       An asterisk (*) indicates a difference from a previous estimate either in the date or the amount of the deposit/disbursement.
       ** This section may also reflect anticipated escrow activity that has not yet occurred prior to the effective date of this analysis.


       To the extent your original obligation was discharged, or is subject to an automatic stay of bankruptcy under Title 11 of the United States Code, this
       statement is for compliance and/or informational purposes only and does not constitute an attempt to collect a debt or to impose personal liability for
       such obligation. However, M&T Bank retains rights under its security instrument, including the right to foreclose its lien.




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                                      Projected Escrow Payments Over the Next 12 Months

                        Anticipated Annual Disbursements                                         Projected Escrow Balance Summary

              Hazard Ins:                         $530.00                            M&T Bank expects to pay $1,319.45 over the next 12 months.
              City Tax:                           $335.98                            Here's how to calculate your new monthly escrow payment:
              Taxes:                              $453.47
                                                                                     Total Taxes and Insurance:                         $1,319.45
              Total:                            $1,319.45
                                                                                     Divided by 12 months:                               $109.96
                                                                                     *New Monthly Escrow Payment:                         $109.96
         The cushion allowed by federal law (RESPA) is zero
         times your monthly escrow payment (excluding M P/PMI),
         unless state law specifies a lower amount.

                            Projections for the coming year: The following summary shows anticipated activity in your escrow
                                 account for the next twelve months, which was used to calculate your payment above.

                       *Monthly       Amount                                                             Projection               Projection
       Month            Escrow       Scheduled                       Description                          Based On                Based On
                       Payment       to be Paid                                                        Current Balance         Required Balance
                                                                 Beginning Balance                           -$137.93                 $109.89
       Oct    19          $109.96                                                                              -$27.97                $219.85
       Nov    19          $109.96                                                                               $81.99                $329.81
       Dec    19          $109.96                                                                             $191.95                 $439.77
       Jan    20          $109.96         $530 00                     Hazard Ins                             -$228.09                  $19.73
       Feb    20          $109.96                                                                            -$118.13                 $129.69
       Mar    20          $109.96                                                                               -$8.17                $239.65
       Apr    20          $109.96         $335 98                    Borough Tax                             -$234.19                  $13.63
       May    20          $109.96                                                                            -$124.23                 $123.59
       Jun    20          $109.96                                                                              -$14.27                $233.55
        Jul   20          $109.96                                                                               $95.69                $343.51
       Aug 20             $109.96         $453.47                    School Tax                                -$247.82                    $0.00
        Sep 20            $109.96                                                                               -$137.86                 $109.96

                            Escrow Requirements, New Mortgage Payment and Anticipated Annual Disbursements

                                                       Projected Beginning Balance              -$137.93
                                                       -Required Minimum Balance                 $109.89
                                                       Shortage Amount                           $247.82


       Your lowest monthly escrow balance for the next 12 months should reach $0.00, which equals a reserve of zero months escrow deposit. In
       order to reach this low point, your required escrow balance after your 9/19 payment should be $109 89, whereas your actual escrow
       balance is -$137 93. The difference, $247.82, represents an escrow shortage and will be spread over the next 12 payments unless your
       shortage is paid in full.




       *Based on these calculations for the coming year, if you pay your shortage in full your new total payment amount effective 10/01/19 will be
       the amount reflected in Option 1 on Page 1 of this statement. If you choose to spread the shortage over 12 payments your total payment
       amount will be the amount reflected in Option 2 of Page 1 of this statement.




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                    Mortgagor Guide to Frequently Asked Escrow Analysis Questions (FAQ Document)

      • What is an escrow analysis and why am I receiving                     • What if I do not remit the shortage payment?
        this document?                                                          9V i_e T_ ^_d gYcX d_ bU]Yd dXU U^dYbU cX_bdQWU `Qi]U^d Y^ _^U
        6UTUbQ\ ]_bdWQWU \Qgc bUaeYbU Q\\ ]_bdWQWU \U^TUbc d_ `UbV_b]           \e]` ce] i_e SQ^ Y^cdUQT bU]Yd dXU ^Ug `Qi]U^d Q]_e^d
        Q^ UcSb_g Q^Q\icYc _^ Q\\ \_Q^c ]Y^Y]Q\\i _^SU Q iUQb 1c Q             _fUb dXU ^Uhd !" ]_^dXc DXU UcSb_g Q^Q\icYc SQ\Se\QdY_^
        bUce\d =D 2Q^[ S_^TeSdc Q^ UcSb_g Q^Q\icYc QSS_bTY^W\i               Qed_]QdYSQ\\i c`bUQTc dXU cX_bdQWU Q]_e^d _fUb dXU ^Uhd
        DXU Q^Q\icYc Yc Q SQ\Se\QdY_^ _V i_eb UcSb_gUT YdU]c ´ gXU^             !" ]_^dXc
        dXUi QbU TeU dXU VbUaeU^Si _V `Qi Q^^eQ\\i cU]YQ^^eQ\\i Q^T
        aeQbdUb\i Q^T dXU Q]_e^d _V dXU `Qi]U^d DXYc dXU^                   • Why did my monthly escrow payment amount change?
        TUdUb]Y^Uc YV gU QbU _fUb S_\\USdY^W e^TUb S_\\USdY^W _b               DXUbU QbU Q ^e]RUb _V bUQc_^c gXi UcSb_g `Qi]U^d Q]_e^dc
        QSSebQdU\i S_\\USdY^W Ve^Tc d_ ]Q[U dXUcU `Qi]U^dc _^ i_eb              SXQ^WU 2U\_g QbU dXU ]_cd S_]]_^ bUQc_^c gXi dXU
        RUXQ\V
                                                                                Q]_e^d ]Qi SXQ^WU*
        DXUbU QbU cUfUbQ\ bUQc_^c gXi Q^ _VVSiS\U Q^Q\icYc Yc
        `UbV_b]UT 3_]]_^ bUQc_^c Y^S\eTU* \_Q^ Yc QSaeYbUT _b                  Real Estate Tax –
        dbQ^cVUbbUT Secd_]Ub bUaeUcd ^Ug UhU]`dY_^ _b QTZecdUT RY\\           Tax rate and/or property’s assessed value changed
        YcceUT SXQ^WU Y^ Y^cebQ^SU _b dQh TeU TQdUc                          Tax exemption status added, changed or removed
                                                                                The payment of a supplemental tax bill or delinquent
      • What is an escrow account?
                                                                                tax paid from escrow
        1^ UcSb_g QSS_e^d Yc Q^ QSS_e^d cUd Y^cYTU i_eb ]_bdWQWU
        QSS_e^d ?^ Q ]_^dX\i RQcYc Ve^Tc i_e bU]Yd QbU `\QSUT Y^ dXU           New tax requirement
        QSS_e^d XU\T Q^T gXU^ dXU dY]U S_]Uc `QYT d_ i_eb dQh Q^T            Tax(es) paid as a result of non-payment
        _b Y^cebQ^SU QWU^Si 1 Ve\\ QSS_e^dY^W _V dXUcU Ve^Tc Q``UQbc           Insurance Premium(s) –
        _^ dXU V_\\_gY^W cdQdU]U^dc* ]_^dX\i ]_bdWQWU cdQdU]U^d                Premium rate changed
        iUQbU^T cdQdU]U^d Q^T i_eb UcSb_g Q^Q\icYc cdQdU]U^d
                                                                                Coverage changed
        Di`YSQ\\i dXU `Qi]U^dc ]QTU QbU d_ i_eb bUQ\ UcdQdU dQh
        ]e^YSY`Q\YdYUc Q^T Y^cebQ^SU QWU^d ?dXUb `Qi]U^dc ]Qi RU               Additional premium paid but not anticipated to be
        ]QTU QSS_bTY^W d_ i_eb ]_bdWQWU QWbUU]U^d                              paid from escrow, such as change in carrier
                                                                                New insurance requirement
      • What is an escrow payment?                                              Lender paid insurance from escrow
        DXU `_bdY_^ _V i_eb ]_^dX\i `Qi]U^d bU]YddUT gXYSX Yc XU\T
                                                                                Flood insurance map changed
        Q^T dXU^ ecUT d_ `Qi i_eb UcSb_gUT YdU]c Qc dXUi RUS_]U
        TeU                                                                    Payments –
                                                                                Monthly payments received were a different amount than
      • 8_g T_ i_e TUdUb]Y^U dXU bUaeYbUT RUWY^^Y^W UcSb_g                      what was expected. For example:
        RQ\Q^SU/                                                                • The monthly payments received were less than the
        DXU `_bdY_^ _V i_eb ]_^dX\i `Qi]U^d bU]YddUT gXYSX Yc XU\T                amount requested, shorting the funding of escrow
        Q^T dXU^ ecUT d_ `Qi i_eb UcSb_gUT YdU]c Qc dXUi RUS_]U                 • Previous escrow shortage amount was not paid in full
        TeU                                                                      before new analysis

      • GXQd Yc Q^ UcSb_g bUcUbfU Q\c_ [^_g^ Qc Q SecXY_^/                    • Information Regarding Insurance –
        1^ UcSb_g bUcUbfU Q\c_ [^_g^ Qc Q SecXY_^ Yc dXU Q]_e^d _V              Hazard insurance, also referred to as homeowner’s insurance,
        ]_^Ui S_\\USdUT Y^ dXU UcSb_g d_ S_fUb Q^i e^Q^dYSY`QdUT                is an insurance policy purchased to protect your property
        Y^SbUQcUc Y^ i_eb bUQ\ UcdQdU dQh _b Y^cebQ^SU `bU]Ye]                  from certain hazards such as fire and theft. Policy coverage
        `Qi]U^d 9d QSdc Qc Q ReVVUb Q^T `bUfU^dc i_eb UcSb_g QSS_e^d           may vary. See your insurance policy information for details
        Vb_] RUY^W _fUbTbQg^ 1^ UcSb_g bUcUbfU UhYcdc _^ i_eb
                                                                                regarding your specific coverage(s).
        QSS_e^d e^\Ucc i_eb ]_bdWQWU T_Se]U^dc _b cdQdU \Qg Q``\YUc
                                                                                9V i_e TUSYTU d_ SXQ^WU i_eb Y^cebQ^SU SQbbYUb cU^T dXU ^Ug
      • How is an escrow analysis completed?                                    `_\YSi Y^V_b]QdY_^ d_* =D 2Q^[ 9dc CeSSUcc_bc Q^T_b
        GU YdU]YjU Q\\ Q``\YSQR\U TYcRebcU]U^dc ceSX Qc dXU bUQ\ UcdQdU         1ccYW^c @? 2_h %'#( C`bY^WVYU\T ?XY_ $%% !%'#(
        `b_`Ubdi dQh Q^T Y^cebQ^SU `bU]Ye] gXYSX QbU cSXUTe\UT d_               Fax: 866-410-9956
        RU `QYT _^ i_eb RUXQ\V Y^ dXU ^Uhd !" ]_^dXc GU dQ[U dXU d_dQ\
        Q^T TYfYTU dXU `Qi]U^d Ri !" `Qi]U^dc DXU d_dQ\ Q]_e^d _V              Additional questions can be directed to 888-882-1847.
        dXU TYcRebcU]U^dc TYfYTUT Ri !" Yc UaeQ\ d_ i_eb ]_^dX\i
        UcSb_g `Qi]U^d                                                       • Information Regarding Real Estate Tax Bills –
                                                                               Where to mail your tax bill:
      • GY\\ ]i UcSb_g `Qi]U^d Q]_e^d bU]QY^ dXU cQ]U YV 9 bU]Yd
        dXU U^dYbU cX_bdQWU Q]_e^d Qd _^SU/                                        M&T Bank
        2i `QiY^W dXU Ve\\ cX_bdQWU Q]_e^d dXYc gY\\ bUce\d Y^ Q^                  PO Box 23628
        QTZecd]U^d d_ i_eb QSS_e^d gXYSX gY\\ bUce\d Y^ Q `Qi]U^d gYdX             Rochester, NY 14692-9813
        dXU c]Q\\Ucd `_ccYR\U Y^SbUQcU Y^ i_eb ]_^dX\i ]_bdWQWU                    FAX: 817-826-0675
        `Qi]U^d 9d¹c Y]`_bdQ^d d_ [UU` Y^ ]Y^T Q^i Y^SbUQcU Y^ i_eb
        bUQ\ UcdQdU dQh Q]_e^dc Q^T_b Y^cebQ^SU `bU]Ye] ]Qi SQecU
        i_eb `Qi]U^d Q]_e^d d_ SXQ^WU UfU^ YV i_e `Qi i_eb cX_bdQWU
        Q]_e^d

      • If I would like to remit the shortage payment, what
        steps do I need to take?
        I_e ]Qi `Qi dXU U^dYbU cX_bdQWU Q]_e^d Ri bUdeb^Y^W dXU
        cX_bdQWU S_e`_^ QddQSXUT d_ dXU R_dd_] _V `QWU ! _V i_eb
        UcSb_g Q^Q\icYc Q\_^W gYdX i_eb SXUS[ d_* =D 2Q^[ 5cSb_g
        4U`Qbd]U^d @? 2_h &$'(' 2Q\dY]_bU =4 "!"&$$'('




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